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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

THE REPORTERS COMMITTEE FOR __)
FREEDOM OF THE PRESS, et al., )
)
Plaintiffs, )
)
V. ) Civil Case No. 15-1392 (RJL)
)
FEDERAL BUREAU OF )
INVESTIGATION, et al., ) FILED
)
Defendants. ) MAR 2 0 2020
Clark, U.S. District & Bankruptcy
ORDER Courts for the District of Columbia

(March*2M 2020) [Dkts. #48, #49]
For the reasons set forth in the accompanying Memorandum Opinion, it is hereby
ORDERED that defendants’ Motion for Summary Judgment [Dkt. #48] is
GRANTED; and it is further
ORDERED that plaintiffs’ Cross-Motion for Summary Judgment [Dkt. #49] is

DENIED.
e

SO ORDERED.
/ (abuse

RICHARD YEON
United States District Judge
